                                      Comenity Bank
                                      PO Box 182789
                                      Columbus, OH 43218



                                      Comenity Bank/Pier 1
                                      PO Box 182789
                                      Columbus, OH 43218



                                      Credit One Bank NA
                                      PO Box 98875
                                      Las Vegas, NV 89193



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                                      3251 Steiner Street
                                      San Francisco, CA 94123



                                      De La Torre Properties, LLC c/o The Liti
                                      111 N. Market Street, Suite 1010
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                                      Francisco Javier De La Torre
                                      7780 Waterville Road
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                                      Kohls/Capone
                                      N56 W 17000 Ridgewood Drive
                                      Menomonee Falls, WI 53051



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                                      Greenville, SC 29602



                                      MCYDSNB
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                                      Mason, OH 45040




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                                                 UNITED STATES BANKRUPTCY COURT
                                                         Northern District of California
                                                              San Jose Division
         Doria Yvette Frias
In re:                                                                                               Case No.
                                              Debtors
                                                                                                     Chapter    13


                                     VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that the
         attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
         Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:      August 28, 2018                                          Signed:   /s/Doria Frias




         Dated:                                                               Signed:




         Signed:     /s//s/ William W. Winters
                     _______________________________________
                    William W. Winters
                    Attorney for Debtor(s)
                    Bar no.: 302818
                    2930 Bowers Avenue
                    Santa Clara, California 95051
                    Telephone No: (408) 919-0088
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